  Case: 1:09-cr-00206 Document #: 180 Filed: 06/19/20 Page 1 of 8 PageID #:1166



                 77IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION



UNITED STATES OF AMERICA,

                       Plaintiff,
                                                   Case No. 09 CR 206-1
           v.
                                              Judge Harry D. Leinenweber
MARIO J. RAINONE,

                       Defendant.



                                    ORDER
     Defendant Mario Rainone’s (“Rainone”) Motion for a Sentence
Reduction (Dkt. No. 173) is granted.                Accordingly, the Court
reduces his sentence to time served and orders his immediate
release, while leaving intact all other aspects of his criminal
conviction.

                               STATEMENT
                               I.    BACKGROUND
     Defendant     Mario   Rainone    has   been    in   prison   since    2009.
(Presentence Report at 4, Dkt. No. 122.) Suspecting him to be
involved in a string of residential burglaries and commercial
thefts, authorities searched his home and found a stolen gun in
his nightstand. (Sentencing Tr. at 15, Dkt. No. 167.) Due to his
long criminal history, Rainone was charged with being a felon in
possession of a firearm, in violation of 18 U.S.C. §§ 922(g)(1)
and 924(e)(1), went to trial, and was convicted. In 2014, the Court
sentenced Rainone to a mandatory minimum term of 180 months in
prison because of his status as an armed career criminal. (Id. at
26.) That 180-month term did not start until Rainone served state
  Case: 1:09-cr-00206 Document #: 180 Filed: 06/19/20 Page 2 of 8 PageID #:1167



prison terms for burglary and for violating his supervised release.
(Id.)   For   that   reason,   Rainone    is   currently      scheduled   to      be
released in September 2028.
     Rainone is 65 years old and claims to suffer from health
problems including possible skin cancer, cataracts, liver disease,
heart issues, and breathing problems. Given his advanced age, he
is of course more susceptible to major complications arising in
the event of a COVID-19 infection.
     Considering the COVID-19 outbreak, which has been especially
severe in BOP facilities, Rainone requests the Court grant him
compassionate release under 18 U.S.C. § 3582(c)(1)(A) as amended
by Section 603 of the First Step Act, Pub. L. No. 115-391, 132
Stat. 5194 (2018) (“First Step Act”).
                               II.   DISCUSSION
     Section 603 of the First Step Act amended § 3582(c)(1)(A) to
allow defendants to petition courts directly for compassionate
release the earlier of either fully exhausting “all administrative
rights to appeal a failure of the Bureau of Prisons to bring a
motion [for compassionate release] on the defendant’s behalf” or
after 30 days of the facility warden receiving the defendant’s
request    for   compassionate    release.     18    U.S.C.   § 3582(c)(1)(A);
First Step Act § 603. Rainone filed his request for compassionate
release with the BOP on April 12, 2020, and this Motion on May 19,
2020.     Accordingly,     Rainone     has     satisfied      the    exhaustion
requirement.
     Rainone asks the Court to release him to home confinement or
for compassionate release. Because the parties do not point to any
statutory     authority   allowing    courts    to    order   BOP   to   allow     a
defendant to serve a lengthy time under home confinement, the Court
will consider a sentence reduction. A sentencing court can reduce
an imposed sentence upon a showing of “extraordinary and compelling


                                     - 2 -
  Case: 1:09-cr-00206 Document #: 180 Filed: 06/19/20 Page 3 of 8 PageID #:1168



reasons” warranting a reduction. 18 U.S.C. § 3582(c)(1)(A)(i). Two
things are statutorily required for the Court to reduce a sentence
because of extraordinary and compelling circumstances. The Court
must first find that the reduction conforms with “applicable policy
statements issued by the Sentencing Commission;” second, the Court
must consider “the factors set forth in [18 U.S.C. §] 3553(a).”
Id. § 3582(c)(1).
           A.    U.S. Sentencing Commission Policy Statements
        A court’s order for a sentence reduction must be “consistent
with     applicable     policy   statements        issued     by   the    Sentencing
Commission.” Id. The Sentencing Commission guidelines state that
“the court may reduce a term of imprisonment . . . if, after
considering [the § 3553(a) factors] . . . the court determines”
that:    (1)     extraordinary      and    compelling     reasons     warrant    the
reduction; (2) the defendant is not a danger to the community as
provided    in    18    U.S.C.   § 3142(g);       and   (3)   “the   reduction    is
consistent with this policy statement.” U.S.S.G. § 1B1.13.
            1.    Extraordinary and Compelling Circumstances
       Accordingly, courts must first determine whether a defendant
has extraordinary and compelling reasons warranting a sentence
reduction.       The   Sentencing    Commission     outlines       four   situations
where extraordinary and compelling reasons exist:
       1. If a Defendant suffers from a terminal illness or a
          serious medical condition, a serious functional or
          cognitive impairment, or experiences “deteriorating
          physical or mental health because of the aging
          process” that “substantially diminishes the ability
          of the defendant to provide self-care within the
          environment of a correctional facility and from which
          he or she is not expected to recover” Id. § 1B1.13
          cmt. n.1(A).

       2. If a defendant is at least 65 years old, is
          experiencing serious deterioration in health because
          of aging, and has served at least ten years or 75


                                          - 3 -
  Case: 1:09-cr-00206 Document #: 180 Filed: 06/19/20 Page 4 of 8 PageID #:1169



          percent of his sentence,                    whichever     is   less.   Id.
          § 1.B1.13 cmt. n.1(B).

       3. The defendant’s family circumstances warrant release,
          including the death or incapacitation of the caregiver
          of   the   defendant’s    minor   children    or   the
          incapacitation of the defendant’s partner, if the
          defendant would be the only available caregiver. Id.
          § 1.B1.13 cmt. n.1(C).

       4. If “there exists in the defendant’s case an
          extraordinary and compelling reason other than, or in
          combination   with,   the   reasons    described   in
          subdivisions (A) through (C).” Id. § 1.B1.13 cmt.
          n.1(D).

U.S.S.G. § 1B1.13 cmt. n. 1.
       This fourth factor evinces broad discretion for the BOP and
courts    in    determining           what    constitutes      an   extraordinary      and
compelling circumstance. The COVID-19 situation in BOP facilities
places    some      inmates      at    a     higher    risk   of    developing    serious
complications         in   the   event       of    exposure.    A   “once-in-a-century
pandemic” is an “extraordinary and compelling” circumstance. See
Bill Gates, Responding to Covid-19—A Once-in-a-Century-Pandemic?
NEW ENG. J.    OF   MED. (Feb. 28, 2020.) Indeed, the U.S.S.G. commentary
reinforces the grant of authority to decision-makers to determine
what     is    an    extraordinary           and    compelling      circumstance:      “an
extraordinary and compelling reason need not have been unforeseen
at the time of sentencing in order to warrant a reduction in the
term of imprisonment.” U.S.S.G. § 1.B1.13 cmt. n. 2. Finally, the
Sentencing Commission policy statements recognize the discretion
and power of courts in deciding whose circumstances qualify as
extraordinary and compelling:
       The court is in a unique position to determine whether
       the circumstances warrant a reduction (and, if so, the
       amount of the reduction), after considering the factors
       set forth in 18 U.S.C. § 3553(a) and the criteria set
       forth in this policy statement, such as the defendant’s


                                              - 4 -
  Case: 1:09-cr-00206 Document #: 180 Filed: 06/19/20 Page 5 of 8 PageID #:1170



      medical condition, the defendant’s family circumstances,
      and whether the defendant is a danger to the safety of
      any other person or to the community.

U.S.S.G. § 1.B1.13 cmt. n.4.
      Accordingly, the Court finds that the COVID-19 pandemic,
Rainone’s relatively advanced age, and other health problems are
circumstances that would allow the Court to use its discretion to
grant a sentence reduction. Rainone’s ailments will get worse as
time goes on, and if he is infected with COVID-19, his advanced
age     makes   it   more    likely    that    he    will   experience     major
complications.
                            2.   Danger to Community
      The Sentencing Commission also requires the Court determine
whether a defendant is a danger to his community as provided in 18
U.S.C. § 3142(g). U.S.S.G. § 1B1.13(2). The relevant factors in
this section are: (1) the nature of the charged offense; (2) the
defendant’s history and characteristics, including the person’s
character and whether the person was on parole or probation at the
time of the offense; and (3) the nature and seriousness of the
danger to the community posed by the person’s release. 18 U.S.C.
§ 3142(g)(1)–(4).
      Although it is a close question, the Court finds it unlikely
that Rainone will pose a danger to his community. The Court notes
first    the    second   consideration,       the   defendant’s   history     and
characteristics. Rainone was on supervised release at the time of
his offense, and he has a long criminal history. Rainone spent a
career as a street enforcer for Chicago’s most notorious organized
crime group, the Chicago Outfit. The Court does not make light of
this history: he has led a life of crime. However, as to the first
and third factors, the Government does not accuse Rainone of any
violent crime after his major racketeering conviction in 1992, for
which he was sentenced to 210 months in prison. Indeed, Rainone

                                      - 5 -
  Case: 1:09-cr-00206 Document #: 180 Filed: 06/19/20 Page 6 of 8 PageID #:1171



has been in prison since 2009 for having a gun in his nightstand
and for his involvement in burglaries. These are serious crimes,
but nobody was hurt, and Rainone has maintained a record of good
behavior    during     his     incarceration.       Finally,        the   Court    is
optimistic that Rainone understands that given his long criminal
history and his advancing age, he is likely to spend the rest of
his natural life imprisoned if he breaks the law again. For these
reasons, the Court finds that Rainone likely poses no immediate
danger to his community.
                 3.    Consistency with Policy Statement
      The   third     § 1.B1.13    factor      is   that     “the    reduction      is
consistent with this policy statement.” U.S.S.G. § 1B1.13(3). The
commentary states that any “reduction made pursuant to a motion by
the Director of the Bureau of Prisons for the reasons set forth in
subdivisions (1) and (2) is consistent with this policy statement.”
Id. § 1.B1.13 cmt. n. 5. Although this comment makes no mention of
the court’s role, the Commission created the commentary before the
First Step Act amended § 3582 to allow prisoners to petition courts
directly. For this reason and for the reasons stated in the Court’s
analysis of subdivisions (1) and (2), the Court finds that reducing
Rainone’s sentence is consistent with the policy statement.
                        B.    Section 3553(a) Factors
      After determining that a sentence reduction is consistent
with the Sentencing Commission policy guidelines, the Court turns
to the § 3553(a) factors. Any sentence reduction must comport with
the   statute.   These       factors   require      courts    to    consider      both
utilitarian and retributivist principles in imposing sentences:
defendants should receive sentences of adequate length relative to
the severity of their crimes, and also long enough to make them
examples to others who consider committing similar crimes. See
generally 18 U.S.C. § 3553(a). In this case, the most relevant


                                       - 6 -
  Case: 1:09-cr-00206 Document #: 180 Filed: 06/19/20 Page 7 of 8 PageID #:1172



factors include: (1) “the nature and circumstances of the offense,
and the history and characteristics of the defendant;” (2) the
need for the sentence imposed to provide the defendant with needed
medical care in the most effective manner; (3) to afford adequate
deterrence; and (4) to protect the public.” Id.
     An evaluation of the § 3553(a) factors demonstrates that a
sentence reduction is warranted. Here, the most important factor
involves    medical     care     and    the    COVID-19        crisis.   Rainone’s
relatively advanced age makes him more likely to experience serious
complications if he contracts COVID-19. The Court can also see no
further deterrent value in forcing Rainone to serve the remainder
of his sentence in BOP facilities notwithstanding the pandemic.
Rainone has already served eleven years between his state and
federal sentences for burglary and possession of a gun, and the
marginal   deterrent     value    of   keeping       Rainone    incarcerated   for
another eight years is minimal. Finally, although Rainone has a
long criminal history, he has not been accused of any violent
crimes in decades and has kept a good record of behavior during
his most recent prison term. “Although persons 65 and older are 13
percent of the population, they accounted for only seven-tenths of
one percent of arrests in 2010.” United States v. Craig, 703 F.3d
1001, 1003 (7th Cir. 2012) (Posner, J. concurring). It is commonly
known   that   recidivism      reduces        with    age,     and   statistically
Rainone’s age bracket makes him less likely to reoffend. The Court
notes the Government’s citation to several cases where Chicago
Outfit members in their 70s and 80s were arrested, charged, and
convicted with planning to commit violent crimes, but the Court is
optimistic that these cases will serve as an example to Rainone:
this is his last chance. Accordingly, the Court finds that the
§ 3553(a) factors allow for a reduction in Rainone’s sentence.




                                       - 7 -
  Case: 1:09-cr-00206 Document #: 180 Filed: 06/19/20 Page 8 of 8 PageID #:1173



                              III.   CONCLUSION
     Thus, the Court finds that the § 3553(a) factors and the
Sentencing Commission’s policy statements, considered in concert,
allow the Court to use its discretion to find Rainone qualified
for compassionate release based on extraordinary and compelling
circumstances;     the   Court    further     finds   that   a   reduction        is
warranted. For these reasons, the Court uses its discretion to
grant Rainone a sentence reduction and compassionate release.




                                             Harry D. Leinenweber, Judge
                                             United States District Court

Dated: 6/19/2020




                                     - 8 -
